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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

CABLE NEWS NETWORK, INC.,

Plaintiff,

Vv.

FEDERAL BUREAU OF INVESTIGATION,

Defendant.

 

GANNETT SATELLITE INFORMATION

NETWORK, LLC, d/b/a USA TODAY, et al.,

Plaintiffs,
Vv.

DEPARTMENT OF JUSTICE,

Defendant.

 

JUDICIAL WATCH, INC.,

Plaintiff,
v.

UNITED STATES DEPARTMENT OF
JUSTICE,

Defendant.

 

FREEDOM WATCH, INC.,

Plaintiff,
Vv.

UNITED STATES DEPARTMENT OF
JUSTICE and FEDERAL BUREAU OF
INVESTIGATION,

Defendants.

 

 

Civil Action No. 1:17-cv-01167-JEB

Civil Action No. 1:17-cv-01175-JEB

Civil Action No. 1:17-cv-01189-JEB

Civil Action No. 1:17-cv-01212-JEB
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THE DAILY CALLER NEWS
FOUNDATION,

Plaintiff, Civil Action No. 1:17-cv-01830-JEB

Vv.

UNITED STATES DEPARTMENT OF
JUSTICE,

Defendant.

 

 

FOURTH DECLARATION OF DAVID M. HARDY

I, David M. Hardy, declare as follows:

(1) I am the Section Chief of the Record/Information Dissemination Section
(“RIDS”), Records Management Division (“RMD”), in Winchester, Virginia. I have held this
position since August 1, 2002. Prior to my joining the Federal Bureau of Investigation (“FBI”),
from May 1, 2001 to July 31, 2002, I was the Assistant Judge Advocate General of the Navy for
Civil Law. In that capacity, I had direct oversight of Freedom of Information Act (“FOIA”)
policy, procedures, appeals, and litigation for the Navy. From October 1, 1980 to April 30,
2001, I served as a Navy Judge Advocate at various commands and routinely worked with FOIA
matters. I am also an attorney who has been licensed to practice law in the State of Texas since
1980.

(2) In my official capacity as Section Chief of RIDS, I supervise approximately 246
employees who staff a total of twelve (12) Federal Bureau of Investigation Headquarters
(“FBIHQ”) units and two (2) field operational service center units whose collective mission is to
effectively plan, develop, direct, and manage responses to requests for access to FBI records and
information pursuant to the FOIA as amended by the OPEN Government Act of 2007, the OPEN

FOIA Act of 2009, and FOIA Improvement Act of 2016; the Privacy Act of 1974; Executive
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Order 13526; Presidential, Attorney General, and FBI policies and procedures; judicial
decisions; and Presidential and Congressional directives. The statements contained in this
declaration are based upon my personal knowledge, upon information provided to me in my
official capacity, and upon conclusions and determinations reached and made in accordance
therewith.

(3) Due to the nature of my official duties, I am familiar with the procedures followed
by the FBI in responding to requests for information from its files pursuant to the provisions of
the FOIA, 5 U.S.C. § 552, and the Privacy Act, 5 U.S.C. § 552a. Specifically, I am aware of the
FBI’s handling of Plaintiffs’ FOIA requests that are at issue in this litigation. The following
lawsuits have been consolidated under Civil Action No. 17-cv-1167 (D.D.C.): CNN v. FBI, 17-
cv-1167 (D.D.C.); Gannett Satellite Information Network et al. v. DOJ, \17-cv-1175 (D.D.C.):
Judicial Watch v. DOJ, 17-cv-1189 (D.D.C.); Freedom Watch v. DOJ & FBI, 17-cv-1212
(D.D.C.); and Daily Caller v. DOJ, 17-cv-1830 (D.D.C.). See Civil Action No. 17-cv-1167
(D.D.C.), Minute Order dated July 26, 2017 (consolidating all lawsuits except the Daily Caller
lawsuit) and Minute Order dated September 7, 2017 (consolidating the Daily Caller lawsuit).

(4) On August 15, 2017 and November 9, 2017, the Court entered schedules in this
case that effectively bifurcated briefing, with briefing on the appropriateness of the FBI’s search
for and withholdings of the so-called “Comey Memos” occurring first, to be followed by briefing
on the appropriateness of the FBI’s search for and withholdings of records responsive to the
remaining portions of FOIA requests submitted by Plaintiffs Gannett Satellite Information
Network and Brad Heath, James Madison Project and Garrett Graff (“JMP/Graff”), James
Madison Project and Lachlan Markay (“JMP/Markay”), and Freedom Watch. See Minute Orders

in 17-cv-01167 (D.D.C.) (Aug. 15, 2017 and Oct. 9, 2017). On February 2, 2018, the FBI's
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motion for summary judgment regarding the Comey Memos was granted. See ECF No. 49,
Memorandum Opinion (Feb. 2, 2018).

(5) This declaration is being submitted in support of the FBI’s motion for partial
summary judgment as to the remaining portions of the FOIA requests at issue in the consolidated
cases. This declaration incorporates by reference my previous declarations in this case, see ECF
No. 22-2, Declaration of David M. Hardy (October 13, 2017) (“First Hardy Declaration”), ECF
No. 36-1, Second Declaration of David M. Hardy (November 5, 2017) (“Second Hardy
Declaration”), and ECF No. 45-2, Third Declaration of David M. Hardy (January 19, 2018)
(“Third Hardy Declaration”); the in camera and ex parte declaration being submitted in
conjunction with the partial motion for partial summary judgment on January 31, 2018, see In
Camera, Ex Parte Declaration of David Archey (January 19, 2018); the in camera and ex parte
declarations previously submitted in support of the FBI’s motion for partial summary judgment
regarding the Comey Memos (ECF No. 22). See In Camera, Ex Parte Declaration of the FBI
(October 13, 2017); Third Jn Camera, Ex Parte Declaration of David W. Archey (January 31,
2018); and the sealed on-the-record, ex parte proffer of Michael R. Dreeben, Counsel to the
Special Counsel. See ECF No. 49, Memorandum Opinion, at p. 5.

(6) As noted in my third declaration, the three pages of records here meet the
Exemption (b)(7) threshold. See ECF No. 45-2, Third Hardy Declaration, at § 33. More
particularly, these records have themselves been compiled for law enforcement purposes, just as
the Comey Memos were. See ECF No. 49, Memorandum Opinion, at p. 10-12; Jn Camera, Ex
Parte Declaration of the FBI (October 13, 2017). I have confirmed that like the Comey Memos,

they were so compiled by or before June 16, 2017.
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Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct. i

Executed this 3 day of February, 2018.

Seely

David M. Hardy

Section Chief

Record/Information Dissemination Section
Records Management Division

Federal Bureau of Investigation
Winchester, Virginia

 
